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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “N” (5)
                                                               :   JUDGE ENGELHARDT
                                                               :   MAG. JUDGE NORTH
  Kelly Gampp                                            ,     :
                                                               :   COMPLAINT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.:
vs.                                                            :
                                                               :
Sanofi US Services, Inc. f/k/a Sanofi-Aventis U.S. Inc.,       :
Sanofi-Aventis U.S. LLC                                  ,     :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                 SHORT FORM COMPLAINT (Effective as of January 4, 2018) 1

         Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on July 25, 2017. Pursuant to Pretrial Order No. 15,

this Short Form Complaint adopts allegations and encompasses claims as set forth in the Amended

Master Long Form Complaint against Defendant(s).

         Plaintiff(s) further allege as follows:

    1.       Plaintiff:
              Kelly Gampp




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         This version of the Short Form Complaint supersedes all prior versions of the form
         pursuant to Pretrial Order No. 73. This Court-approved version of the Short Form
         Complaint is available on the Court’s Taxotere webpage and through MDL Centrality.



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2.     Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

       of consortium):

        NA


3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

       conservator):

        NA

4.     Current State of Residence:   Ohio


5.     State in which Plaintiff(s) allege(s) injury:   Ohio


6.     Defendants (check all Defendants against whom a Complaint is made):

       a.     Taxotere Brand Name Defendants

               X       A.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

               X       B.     Sanofi-Aventis U.S. LLC

       b.     Other Brand Name Drug Sponsors, Manufacturers, Distributors

                       A.     Sandoz Inc.

                       B.     Accord Healthcare, Inc.

                       C.     McKesson Corporation d/b/a McKesson Packaging

                       D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                       E.     Hospira, Inc.

                       F.     Sun Pharma Global FZE

                       G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                              Laboratories Ltd.
                       H.     Pfizer Inc.

                       I.     Actavis LLC f/k/a Actavis Inc.

                       J.     Actavis Pharma, Inc.




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                       K.        Other:




7.     Basis for Jurisdiction:

        X       Diversity of Citizenship

                Other (any additional basis for jurisdiction must be pled in sufficient detail as
                required by the applicable Federal Rules of Civil Procedure):




8.     Venue:

       District Court and Division in which remand and trial is proper and where you might
       have otherwise filed this Short Form Complaint absent the direct filing Order entered by
       this Court:
                                           United States District Court of Southern District of Ohio
                                           Western Division




9.     Brand Product(s) used by Plaintiff (check applicable):

        X       A.     Taxotere

                B.     Docefrez

                C.     Docetaxel Injection

                D.     Docetaxel Injection Concentrate

                E.     Unknown

                F.     Other:




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10.     First date and last date of use (or approximate date range, if specific dates are unknown)
        for Products identified in question 9:


            March 23, 2011 - July 6, 2011




11.     State in which Product(s) identified in question 9 was/were administered:


              Ohio




12.         Nature and extent of alleged injury (including duration, approximate
            date of onset (if known), and description of alleged injury):


             Permanent Alopecia




13.         Counts in Master Complaint brought by Plaintiff(s):

             X       Count I – Strict Products Liability - Failure to Warn
             X       Count III – Negligence
             X       Count IV – Negligent Misrepresentation
             X       Count V – Fraudulent Misrepresentation
             X       Count VI – Fraudulent Concealment
             X       Count VII – Fraud and Deceit

                     Other: Plaintiff(s) may assert the additional theories and/or
                     State Causes of Action against Defendant(s) identified by
                     selecting “Other” and setting forth such claims below. If
                     Plaintiff(s) includes additional theories of recovery, for
                     example, Redhibition under Louisiana law or state consumer
                     protection claims, the specific facts and allegations supporting
                     additional theories must be pleaded by Plaintiff in sufficient
                     detail as required by the applicable Federal Rules of Civil
                     Procedure.




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14.     Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s),
        Email Address(es) and Mailing Address(es) representing Plaintiff(s):

                                      By: Sean Patrick Tracey
                                          State Bar No. 20176500
                                          Shawn Fox
                                          State Bar No. 24040926
                                          Clint Casperson
                                          State Bar No. 24075561
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